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 4
                             UNITED STATES DISTRICT COURT
 5                          EASTERN DISTRICT OF WASHINGTON
 6
      UNITED STATES OF AMERICA,                   )
 7                                                )     No. CR-07-112-RHW-2
                         Plaintiff,               )
 8                                                )     ORDER GRANTING IN PART AND
      v.                                          )     DENYING IN PART DEFENDANT’S
 9                                                )     MOTIONS AND MODIFYING
      ALLEN LINT,                                 )     CONDITIONS OF RELEASE
10                                                )
                         Defendant.               )
11                                                )

12         At the January 9, 2008, hearing on Defendant’s Motion to Modify

13   and Amended Motion to Modify (Ct. Recs. 85, 87), Defendant appeared

14   with counsel Douglas D. Phelps; Assistant U.S. Attorney Russell

15   Smoot represented the United States.

16         The court, having considered the proffers of Defendant and

17   Plaintiff,     finds     Defendant     has       been   in    compliance   with     his

18   conditions of release.           The request to have the condition of

19   electronic monitoring removed is GRANTED.                    Instead Defendant shall

20   have a curfew of 7:00 p.m. to 6:00 a.m.                 The request to remove the

21   random urinalysis testing is DENIED.

22         All other conditions in this court’s prior Orders (Ct. Recs.

23   21,   50)   shall   remain    and    shall       constitute      the   conditions    of

24   Defendant's release.

25         IT IS SO ORDERED.

26         DATED January 10, 2008.

27                               S/ CYNTHIA IMBROGNO
                            UNITED STATES MAGISTRATE JUDGE
28

     ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT’S
     MOTIONS AND MODIFYING CONDITIONS OF RELEASE - 1
